            Case 14-30014                Doc 47         Filed 03/01/18 Entered 03/01/18 12:22:06                          Desc Ch 13
                                                            Discharge Page 1 of 2
Information to identify the case:
Debtor 1                Karen E. Zenit                                                   Social Security number or ITIN   xxx−xx−8377

                        First Name   Middle Name   Last Name                             EIN   _ _−_ _ _ _ _ _ _

Debtor 2                                                                                 Social Security number or ITIN _ _ _ _
(Spouse, if filing)     First Name   Middle Name   Last Name
                                                                                         EIN   _ _−_ _ _ _ _ _ _

United States Bankruptcy Court District of Connecticut

Case number: 14−30014 amn




Order of Discharge                                                                                                                      12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 1328(a) is granted to:

               Karen E. Zenit


               3/1/18                                                             By the court:         Ann M. Nevins
                                                                                                        United States Bankruptcy Judge



Explanation of Bankruptcy Discharge in a Chapter 13 Case

This order does not close or dismiss the case.                                    Most debts are discharged
                                                                                  Most debts are covered by the discharge, but not all.
                                                                                  Generally, a discharge removes the debtors' personal
Creditors cannot collect discharged debts                                         liability for debts provided for by the chapter 13 plan.
This order means that no one may make any                                         In a case involving community property: Special rules
attempt to collect a discharged debt from the                                     protect certain community property owned by the debtor's
debtors personally. For example, creditors cannot                                 spouse, even if that spouse did not file a bankruptcy
sue, garnish wages, assert a deficiency, or                                       case.
otherwise try to collect from the debtors personally
on discharged debts. Creditors cannot contact the                                 Some debts are not discharged
debtors by mail, phone, or otherwise in any                                       Examples of debts that are not discharged are:
attempt to collect the debt personally. Creditors
who violate this order can be required to pay                                           ♦ debts that are domestic support obligations;
debtors damages and attorney's fees.
However, a creditor with a lien may enforce a                                           ♦ debts for most student loans;
claim against the debtors' property subject to that
lien unless the lien was avoided or eliminated. For
example, a creditor may have the right to foreclose                                     ♦ debts for certain types of taxes specified in 11
a home mortgage or repossess an automobile.                                               U.S.C. §§ 507(a)(8)( C), 523(a)(1)(B), or
                                                                                          523(a)(1)(C) to the extent not paid in full under
This order does not prevent debtors from paying                                           the plan;
any debt voluntarily. 11 U.S.C. § 524(f).


                                                                                               For more information, see page 2




Form 3180W                                                     Chapter 13 Discharge                                         page 1
       Case 14-30014        Doc 47     Filed 03/01/18 Entered 03/01/18 12:22:06                Desc Ch 13
                                           Discharge Page 2 of 2




      ♦ debts that the bankruptcy court has                            ♦ debts for restitution, or damages,
        decided or will decide are not discharged                        awarded in a civil action against the
        in this bankruptcy case;                                         debtor as a result of malicious or willful
                                                                         injury by the debtor that caused
                                                                         personal injury to an individual or the
      ♦ debts for most fines, penalties, forfeitures,                    death of an individual; and
        or criminal restitution obligations;

                                                                       ♦ debts for death or personal injury
      ♦ some debts which the debtors did not                             caused by operating a vehicle while
        properly list;                                                   intoxicated.


      ♦ debts provided for under 11 U.S.C. §                    In addition, this discharge does not stop
        1322(b)(5) and on which the last payment                creditors from collecting from anyone else who
        or other transfer is due after the date on              is also liable on the debt, such as an insurance
        which the final payment under the plan                  company or a person who cosigned or
        was due;                                                guaranteed a loan.

      ♦ debts for certain consumer purchases
        made after the bankruptcy case was filed if                 This information is only a general
        obtaining the trustee's prior approval of                   summary of a chapter 13 discharge; some
        incurring the debt was practicable but was                  exceptions exist. Because the law is
        not obtained;                                               complicated, you should consult an
                                                                    attorney to determine the exact effect of
                                                                    the discharge in this case.




Form 3180W                                   Chapter 13 Discharge                                 page 2
